

Belair &amp; Evans LLP v Rizzo (2021 NY Slip Op 01549)





Belair &amp; Evans LLP v Rizzo


2021 NY Slip Op 01549


Decided on March 18, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 18, 2021

Before: Acosta, P.J., Gische, Oing, González, JJ. 


Index No. 654131/15 Appeal No. 13389N Case No. 2019-05205 

[*1]Belair &amp; Evans LLP, Plaintiff-Appellant,
vPeter Foley Rizzo, M.D., Defendant-Respondent.


Furman Kornfeld &amp; Brennan LLP, New York (Aaron M. Barham of counsel), for appellant.
Brown Rudnick LLP, New York (Lauren Tabaksblat of counsel), for respondent.



Order, Supreme Court, New York County (Alan C. Marin, J.), entered on or about June 21, 2019, which, to the extent appealed from as limited by the briefs, denied plaintiff's motion to compel defendant to provide the results of a clinical competency evaluation of him and nonprivileged legal and insurance files from medical malpractice cases filed against him, unanimously affirmed, without costs.
After conducting an in camera review of the documents, the motion court providently exercised its discretion in denying plaintiff's motion to compel defendant to provide the results of a clinical competency evaluation of defendant and nonprivileged legal and insurance files from medical malpractice cases filed against him. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 18, 2021








